Case 2:05-cr-20281-.]TF Document 6 Filed 08/11/05 Page 1 of 2 Page|D 6

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WESTERN DISTRICT OF TENNESSB AU
Western Division 8 l l PH h 23

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CI£RK, U.S. §§STR'cI
UNITED sTATEs oF AMERICA W.'D 05 itt enters
-vs- Case No. 1:05cr20081-001D

RICKY HUGHES

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a detention hearing is set for

MONDAY, AUGUST 15, 2005 at 3:00 P.M. before United States Magistrate Judge Tu M. Pham
in Courtroom No. 6, Third Floor, United States Courthouse and F ederal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: Augusi 10, 2005 ,_-- 5
gZ_/llmm L___

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's first appearance the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142()‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 142(1) are present. Subseetion (l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft'icer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B/BS) Order of Termorary De!ention

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20281 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

